Equal rights ordinance opponents sue city - HoustonChronicle.com         https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRH11.Y R!ADllG
                                                                                                                    SUBSCRIBE
                    Equal rights ordinance opponents sue city



                   Equal rights ordinance
                   opponents sue city
                   Group asks judge to verify petition for a referendum

                   Mike Morrta and Katherine Driessen              I Aug. s, 2014 I Updated: Aug. 6, 201410:42 a.m.




                   Mayor Annise Parker and City Attorney David Feldman, announce that the petition to repeal the
                   Houston Equal Rights Ordinance adopted bythe City Council in May has fallen short ofthe
                   number ofsignatures required due to emJrs In the signature collection process Monday, Aug. 4,
                   2014. in Houston. The 15.249 valid si2natures fell short of the 17.269 reauired. Paaes of

                    Opponents ofHouston's new nondiscrimination ordinance sued the
                   dty late Tuesday. one day alter dty officials rejected a petition the
                   group had submitted in hopes offorcing a repeal referendum in
                   November.


                                                                                                              Exhibit L
1 of 6                                                                                                                       6/27/2019, 7:11 PM
Equal rights ordinance opponents sue city - HoustonChronicle.com   https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRENTLY READING
                                                                                                              SUBSCRIBE
                    Equal rights ordinance opponents sue city

                    signatures to force a vote, only to have City Attorney David Feldman
                   illegally insert himselfinto verifying the petition, invalidating more
                    than half of the petition's 5,200 pages for failing to satisfy legal
                   requirements in the city charter. That left opponents roughly 2,000
                   names short of the 17,269-signature threshold needed to force a
                   referendum.

                    In a memo to Mayor Annise Parker and the City Council, Russell said
                    she had found 17,846 valid signatures before Feldman reviewed the
                   pages, and attributed the lower count to her review ofhis office's
                    work. At an injunction hearing Tuesday night, plaintiffs argued Russell's
                   initial count was the important one by law and should have triggered a
                   referendum. City attorneys disagreed, saying Russell ultimately found
                    there were not enough signatures.

                   "If he (Feldman) felt there were underlying problems with the petition
                   then he, like us, has the right to file a lawsuit if he doesn't agree with
                   what the city secretary did," said conservative activist Jared Woodfill,
                   one of the four plaintiffs. "Going in before she's ever made the decision
                   and influencing her is inappropriate, it's illegal and we believe the
                   court will agree with us and that folks will have their voices heard in
                    November on this issue."

                    Ruling Wednesday?

                   Visiting Judge John Coselli did not rule on the plaintiffs' injunction
                   request. The judge indicated he could rule as early as Wednesday
                   morning.


                                                                                                        Exhibit L
2 of 6                                                                                                                 6/27/2019, 7:11 PM
Equal rights ordinance opponents sue city - HoustonChronicle.com   https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRENTLY READING
                                                                                                              SUBSCRIBE
                    Equal rights ordinance opponents sue city

                   to interpret the law and give legal advice.

                   "There's nothing that would preclude me from giving legal advice to
                   the city secretary," Feldman said. "In fact, that's what our ordinances
                   would expect me to do: Give advice to her on an issue which is really a
                   legal issue. The question of whether or not those pages are valid
                   because of the issue of meeting or not meeting the requirements of the
                   charter is a legal issue."

                    City Council approved the so-called Houston Equal Rights Ordinance
                    on an 11-6 vote in May, banning discrimination among businesses that
                    serve the public, private employers, in housing and in city employment
                    and city contracting. Religious institutions are exempt. Violators can
                    be fined up to $5, 000.

                    The measure's divisiveness stems from the protections it extends to
                   gay and transgender residents, groups not already protected under
                    federal laws barring discrimination

                    Opponents promised to send the issue to the voters, and on July 3,
                   they claimed to have delivered more than 50,000 signatures - 31,000 of
                   them verified, they said - to the city secretary's office.

                    In Tuesday's filing, opponents sought a declaration that their petition
                   is valid and contains the needed number of signatures. They also claim
                   none of the "so-called problems" Feldman identified should have
                   rendered Russell's initial count moot.

                    The mayor, the City of Houston and Russell are listed as defendants.

                                                                                                        Exhibit L
3 of 6                                                                                                                 6/27/2019, 7:11 PM
Equal rights ordinance opponents sue city - HoustonChronicle.com   https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRENTLY READING
                                                                                                              SUBSCRIBE
                    Equal rights ordinance opponents sue city


                   A spokeswoman for Parker pointed to a Monday press release issued
                    after the petition was rejected.

                    "I fully expect the petitioners will want to fight this decision at the
                    courthouse," the statement said. "I am confident the courts will agree
                    that the rules set out in our Charter and state law to protect the
                   integrity of the process should be followed and that the results of our
                   review will be upheld. The judicial review will provide additional
                    assurance to the voters that the process has been fair."

                   A very high bar

                    Opponents faced an unusually high and technical bar to gather enough
                    signatures. For petitions seeking to repeal a city ordinance, all the
                    signatures on a page are thrown out if the circulators who collected
                    those signatures or the notaries who signed off on the page made a
                   mistake.

                    Feldman and his staff threw out more than half the 5,199 pages,
                    containing about 16,000 signatures - many of them likely valid. Most
                   pages were thrown out because those who collected names for the
                   petition were not registered Houston voters or did not sign the
                   petition themselves. Those errors invalidated more than 2,000 pages
                    with about 11,300 signatures.

                    The city charter provision regarding attempts to repeal an ordinance
                   hasn't come up since a 1996 repeal effort over affirmative action,
                    officials said. The city has mostly dealt with petitions to amend the city

                                                                                                        Exhibit L
4 of 6                                                                                                                 6/27/2019, 7:11 PM
Equal rights ordinance opponents sue city - HoustonChronicle.com   https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRENTLY READING
                                                                                                              SUBSCRIBE
                    Equal rights ordinance opponents sue city


                    Russell, who has worked for the city more than six decades, said earlier
                   Tuesday that she could not recall another instance in which city
                   attorneys reviewed the pages of a petition. However, she said, the
                   petition process to overturn an ordinance is unusual in itself because
                   other petition processes do not require that each page be notarized.

                    Bob Stein, a political science professor at Rice University, said the
                   city's process for repeal referendums is likely to come up in court. "The
                   real question is whether or not you can invalidate a signature because
                   it happens to be on a page that is invalidated," he said. "This is going to
                   be an issue of voter's rights."

                    Opponents are asking the judge to suspend enforcement of the
                   ordinance, triggering the referendum process. Parker has already said
                    she will wait to enforce the ordinance until there's legal clarity.




                                                                                                        Exhibit L
5 of 6                                                                                                                 6/27/2019, 7:11 PM
Equal rights ordinance opponents sue city - HoustonChronicle.com   https://www.houstonchronicle.com/news/article/Equal-rights-ordinance-...



                    CURRENTLY READING
                                                                                                                  SUBSCRIBE
                    Equal rights ordinance opponents sue city
                                                                                             Privacy Notice

                                                                                             Your California Privacy Rights

                                                                                             Interest Based Ads

                                                                                             Terms of Use

                                                                                             Advertising

                                                                                             Our Company

                                                                                             Careers

                                                                                             CONTACT

                                                                                             Subscribe

                                                                                             eNewspaper

                                                                                             Archives

                                                                                             Customer Service

                                                                                             Frequently Asked Questions

                                                                                             Newsroom Contacts

                   H 1 A 11 • T   newspapers
                   ©2019 Hearst




                                                                                                            Exhibit L
6 of 6                                                                                                                        6/27/2019, 7:11 PM
